Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 1 of 19




            EXHIBIT A-36
     Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 2 of 19




            DISTRICT OF COLUMBIA COURT OF APPEALS

            BOARD ON PROFESSIONAL RESPONSIBILITY
                                                                         Aug 17 2022 8:53am
                                  Under Seal

In the Matter of

JEFFREY B. CLARK                               Disciplinary Docket No.

A Member of the Bar of the District            2021-D193
of Columbia Court of Appeals
                                               UNDER SEAL
Bar No. 455315

Date of Admission: July 7, 1997


            NOTICE AND INCORPORATED MOTION
                         TO SEAL

     Respondent hereby gives notice to the Board of the attached and lodged
       Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 3 of 19




      This Board has previously ordered



            . See, August 8, 2022 Order at 3 (Confidential Appendix). This

pleading and its attachments relate

                   Respondent therefore respectfully requests that the Board

receive this pleading under seal pursuant to the August 8 order.

      Respectfully submitted this 16th day of August, 2022.



/s/ Charles Burnham

Charles Burnham                                Robert A. Destro*
DC Bar No. 1003464                             Ohio Bar #0024315
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                                          2
      Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 4 of 19




                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Reply in Support of Motion for Extension of Time by email

addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 16 day of August, 2022.


                                      /s/ Charles Burnham
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Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 5 of 19
Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 6 of 19
Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 7 of 19
Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 8 of 19
Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 9 of 19
Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 10 of 19
Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 11 of 19
Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 12 of 19
Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 13 of 19
Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 14 of 19
Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 15 of 19
Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 16 of 19
     Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 17 of 19




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progress




                                     13
     Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 18 of 19




                      CERTIFICATE OF SERVICE

     I hereby certify that I have on this day served counsel for the opposing party

with a copy of this



             by email addressed to:

     Hamilton P. Fox
     D.C. Bar
     Building A, Room 117
     515 5th Street NW
     Washington DC 20001
     foxp@dcodc.org

     This 11 day of August, 2022.

                                       /s/ Charles Burnham
                                       Charles Burnham
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                    Case 1:22-mc-00096-RC Document 1-36 Filed 10/17/22 Page 19 of 19
Subject: FW: Public Specification of Charges (Clark)
From: Lynch, Sarah N. (Reuters) - To: JEFFREY.B.CLARK@GMAIL.COM, hmacdougald@ccedlaw.com - Cc: - Date: July 22, 2022
at 10:08 AM, Attachments: Spec. Jeffrey B. Clark.pdf


Jeff & Harry,

Do you have any response to these charges?
Please email if possible.
I am in court, covering the Bannon trial, so unable to take calls at this time.

Best,
Sarah

202 579 0289


From: Lawrence Bloom <blooml@dcodc.org>
Sent: Friday, July 22, 2022 10:01 AM
To: David McAfee <dMcAfee@bloombergindustry.com>; Katelyn Polantz
<katelyn.polantz@warnermedia.com>; Scarcella, Mike (Reuters) <Mike.Scarcella@thomsonreuters.com>;
Lynch, Sarah N. (Reuters) <Sarah.N.Lynch@thomsonreuters.com>; Tierney Sneed
<tierney.sneed@warnermedia.com>; Vanessa Blum <vblum@alm.com>
Cc: Phil Fox <FoxP@dcodc.org>; Angela Thornton <thorntona@dcodc.org>
Subject: [EXT] Public Specification of Charges (Clark)

External Email: Use caution with links and attachments.



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                                                        Exhibit A
